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        key1:22-cr-00224-DLF
            to move from fieldDocument
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                                         29this form.
                                             Filed 11/17/22 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                          Criminal Number       1:22-cr-00224-DLF


JOSHUA COLGAN
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:               (Please check one)


 9       CJA                9■     RETAINED           9     FEDERAL PUBLIC DEFENDER



                                                                 (Signature)



                                            PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Murdoch Walker, II Georgia Bar No. 163417
                                                         (Attorney & Bar ID Number)
                                          Lowther | Walker LLC
                                                                (Firm Name)
                                          101 Marietta St. NW Suite 3324
                                                              (Street Address)
                                          Atlanta, Georgia 30303
                                            (City)               (State)            (Zip)
                                          (404) 496-4052
                                                            (Telephone Number)
